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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
                                                                                    JS-6
                               CIVIL MINUTES – GENERAL

Case No. SACV 14-811-JLS (ANx)                                        Date: October 22, 2014
Title: Pegatron Corp. v. Westinghouse Digital, LLC

Present: Honorable JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

      Terry Guerrero                                                    N/A
      Deputy Clerk                                                 Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFF:                ATTORNEYS PRESENT FOR DEFENDANT:

       Not Present                                                 Not Present

PROCEEDINGS: (IN CHAMBERS) ORDER DISMISSING ACTION

        On October 14, 2014, the Court ordered Plaintiff Pegatron Corp. to show cause
why this case should not be dismissed for lack of subject matter jurisdiction. (Order,
Doc. 30.) On October 17, 2014, Plaintiff filed a Reply to the Court’s Order. (Reply,
Doc. 31.)1 Later that same day, counsel for Defendant Westinghouse Digital, LLC filed a
declaration in response to the Order. (Bradshaw Decl., Doc. 32.) On October 20, 2014,
Plaintiff filed a Supplemental Reply in response to the declaration. (Suppl., Doc. 33.)
For the reasons stated below, the Court DISMISSES this action for lack of subject matter
jurisdiction.
        Plaintiff filed the present action on May 23, 2014, asserting diversity jurisdiction
pursuant to 28 U.S.C. § 1332. (Compl. ¶ 5, Doc. 1.) As the party invoking the Court’s
jurisdiction, Plaintiff bears the burden to establishing the existence of subject matter
jurisdiction. See In re Ford Motor Co., 264 F.3d 952, 957 (9th Cir. 2001). At the
pleading stage, Plaintiff may satisfy its burden by alleging facts that show a proper basis
for jurisdiction. See Fed. R. Civ. Proc. 8(a)(1). Diversity jurisdiction exists where the
amount in controversy exceeds $75,000 and the case is between citizens of different
states, or citizens of a state and citizens or subjects of a foreign state. See 28 U.S.C.
§ 1332(a). “[A] corporation shall be deemed to be a citizen of every State and foreign
state by which it has been incorporated and of the State or foreign state where it has its
principal place of business, . . . .” 28 U.S.C. § 1332(c)(1). A limited liability company,


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 Plaintiff filed its Reply three days before the deadline set in the Order. The Court therefore
assumes that Plaintiff was provided with more than a sufficient amount of time to respond to the
Order.
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however, is a citizen of every state of which its members are citizens. See Johnson v.
Columbia Properties Anchorage, LP, 437 F.3d 894, 899 (9th Cir. 2006).
        In the Complaint, Plaintiff alleges that it is a Taiwanese corporation with its
principal place of business in Taiwan. (Compl. ¶ 9.) Thus, according to the Complaint,
Plaintiff is a citizen of Taiwan. See 28 U.S.C. § 1332(c)(1). Plaintiff further alleges that
Westinghouse “is a limited liability company organized under the laws of Delaware and
has its principal place of business in California.” (Compl. ¶ 5.) As the Court explained
in its prior Order, because Westinghouse is a limited liability company, this allegation is
insufficient to establish the citizenship of Westinghouse. Thus, the Complaint does not
adequately plead a basis for subject matter jurisdiction.2
        In its Response to the Order, Plaintiff states that it is prepared to amend the
Complaint to allege that, “on information and belief, there are no members of
[Westinghouse] who are citizens of Taiwan and at least one member of Westinghouse
who is a citizen of the United States.” (Resp. Ex. A ¶ 6.) This allegation would not,
however, be sufficient to invoke the Court’s jurisdiction. Plaintiff cannot meet its burden
by alleging only the states or foreign states of which Westinghouse’s members are not
citizens. See Kanter v. Warner-Lambert Co., 265 F.3d 853, 857 (9th Cir. 2001) (stating
that the district court “was concerned about a legitimate issue” when it found a notice of
removal insufficient that “merely alleged that [certain defendants] were not citizens of
California”). Further, the proposed allegation does not specify whether each of
Westinghouse’s members is an individual or a business entity. Thus, the Court cannot
determine what standards would apply in determining the citizenship of each of
Westinghouse’s members, much less whether Plaintiff’s proposed allegations are
sufficient to meet those standards. In sum, neither Plaintiff’s Complaint nor proposed



2
  In its Response, Plaintiff asserts that Westinghouse “admit[ted] in its Answer to the Complaint
that the Court has diversity jurisdiction over this proceeding.” (Reply at 2.) “Consent of parties
cannot give the courts of the United States jurisdiction, but the parties may admit the existence of
facts which show jurisdiction, and the courts may act judicially upon such an admission.”
Railway Co. v. Ramsey, 89 U.S. 322, 327 (1874). Here, the Complaint alleges no facts regarding
the citizenship of Westinghouse’s members, and thus the Answer admitted no such facts. The
Answer agreed with a mistaken legal conclusion, and that mistake is insufficient to invoke the
Court’s jurisdiction.
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                             UNITED STATES DISTRICT COURT
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amended complaint adequately pleads a basis for subject matter jurisdiction.3
Accordingly, the Court DISMISSES this action for lack of subject matter jurisdiction.

                                                                             Initials of Preparer: tg




3
  The declaration of Westinghouse’s counsel also suggests that the Court lacks subject matter
jurisdiction over this action. (See Bradshaw Decl.) However, the Court does not base its
dismissal on the facts stated in the declaration. Rather, this dismissal is based on the deficiencies
in Plaintiff’s Complaint and proposed amendments to the Complaint. In its Supplemental Reply,
Plaintiff asserts that Court ordered discovery regarding Defendant’s citizenship is appropriate
because “[Westinghouse] and/or its counsel have made contradicting and inconsistent
statements.” (Suppl. at 3.) Because this Order does not rely on Defendant’s counsel’s
statements, Plaintiff’s request for discovery is denied.
